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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA



  In re: Oil Spill by the Oil Rig                           MDL No. 2179
         “Deepwater Horizon” in the Gulf
         of Mexico, on April 20, 2010
                                                            SECTION: J
  This Document Relates to:
  All Cases in Pleading Bundle B1                           JUDGE BARBIER

  (This Document also applies to No. 10-2771)               MAGISTRATE SUSHAN




                                           ORDER


      C ONSIDERING Plaintiffs’ Motion for Leave to Supplement their Omnibus Opposition to

the Defendants’ Motions to Dismiss the Amended B1 Master Complaint:

      I T IS O RDERED that Plaintiffs be and are hereby granted leave to file their Supplement to

Oppositions to Motions to Dismiss the Amended B1 Master Complaint.

      SIGNED this ___ day of                , 2011, New Orleans, Louisiana.



                                                           _____________________________
                                                           Hon. Carl J. Barbier
                                                           U.S. District Court Judge
